:LANEY WILES, INC.
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Attorneys for defendant Safeway, lnc.

IN THE UNITED STATE DISTRICT COURT
FOR THE DISTRICT OF ALASKA
BARBARA JAMES,
Plaintiff,
vs,

SAFEWAY, INC., a/k/a

CARRS QUALITY CENTERS Case No. 3:07-cv- ( )

Defendant.

 

Case No. 3AN-07-7278 Civil

NOTICE OF REMOVAL OF CASE FROM
STATE COURT (SUPERIOR COURT NO. 3AN-07-7278 CIVIL)

TO THE DISTRICT COURT OF THE UNITED STATES, DISTRICT OF ALASKA,
AND TO PLAINTIFF AND HIS ATTORNEY OF RECORD:

PLEASE TAKE NOTICE that the defendants, Safeway, Inc., (hereinafter “Safeway, Inc.”)
contemporaneous With the filing of this Notice, are effectuating the removal of the above
referenced action from the Superior Court of the State of Alaska, Third Judicial District, to the

United States District Court for the District of Alaska. A true and correct copy of the Notice to

Case 3:07-cV-00158-TI\/|B Document 1 Filed 08/15/07 Page 1 of 3

 

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Superior Court of Filing Notice of Removal filed in Case No. 3AN-O7-727`8 Civil, is attached
hereto as Exhibit A. The removal is based on the following grounds:

l. On or about May 17, 2007, there Was filed in the Superior Court for the State of
Alaska, Third Judicial District at Anchorage, the above entitled action, Case No. 3AN-07-7278
Civil.

2. Safeway first received notice of the complaint, by service of the summons and
complaint on or about August 2, 2007. A true and correct copy of this complaint is attached
hereto as Exhibit B, and is incorporated by reference herein as though fully set forth.

3. The United States District Court has jurisdiction over the superior court action in
this matter, pursuant to 28 U.S.C. § 1332 as one that may be removed under 28 U.S.C. § l44l(a)
based on diversity of citizenship, and as meeting all jurisdictional requirements

4. This notice of removal is timely filed in that it is filed Within thirty days of receipt
of a copy of the complaint by defendants, Which sets out a claim for relief

5. Safeway, lnc. is a corporation organized under the laws of the state of Delaware

With its principal place of business in Pleasanton, California. lts corporate citizenship is

California.
6. Plaintiff is a citizen of Alaska.
7. The complaint alleges damages in excess of $100,000, thus meeting the

jurisdictional requirements of 28 U.S.C. § 1332(a).
Dated at Anchorage, Alaska this ij day of August, 2007.

DELANEY WILES, INC.
Attorneys for defendant

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Cynthia L. Ducey d

NOTICE OF REMOVAL OF CASE FROM STATE COURT (SUPERIOR COURT NO. 3AN-07-7278 CI)
James v. Safeway, Inc., Case No. 3:0'."-cv- Page 2 of 3

Case 3:07-cV-00158-TI\/|B Document 1 Filed 08/15/07 Page 2 of 3

 

ASBA# 8310161

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Certii“lcate of Service

On this j_</Say of August,
2007, l caused to be mailed

by the U.S. Postal Service a copy
of this document upon:

Cris Rogers

2600 Denali Street, Suite 71 l-B
Anchorage, AK 99503

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James v. Safeway, Inc., Case No. 3:07-cv- Page 3 of 3

Case 3:07-cV-00158-TI\/|B Document 1 Filed 08/15/07 Page 3 of 3

 

 

